CRIMINAL CASE COVER SHEET                                                U.S. ATTORNEY'S OFFICE

Defendant Name: Shaheed Wilbur Robinson

Place of Offense (City & County):               McMinn, County Athens, Tennessee

Juvenile:      Yes           No _x_          Matter to be Sealed:            Yes              No _x_

Interpreter: No _x_ Yes                      Language:

Total# of Counts: _            Petty     __ Misdemeanor (Ciass__j                             12 Felony

                                            ORIGINAL INDICTMENT                                               Count(s)
                             U.S.C. Citation(s) and Description of Offense Charged
            did knowingly possess and use in and affecting interstate commerce, without lawful
Set 1                                                                                                    1-10
            authority, a means of identification of another person, that is, a name and date of birth,
            with the intent to commit and in connection with, any unlawful activity that constitutes a
            violation of Federal law, namely, wire fraud in violation of 18 U.S.C. § 1343, and the
            offense involved the possession of a false identification document that is and appears to
            be a temporary driver's license.
            Title 18, United States Code, § 1028(a)(7)
            did knowingly possess in and affecting interstate commerce with intent to use unlawfully,
Set 2                                                                                                    11
            five and more false identification documents, that is, one fake Georgia driver's licenses,
            six fake Georgia temporary driver's licenses, two fake Alabama driver's licenses, one
            fake California driver's license and one fake Virginia driver's license, each false
            identification document having been produced to appear like a driver's license issued by
            a State, did bear defendant's photograph but contained other individuals identifying
            information
            Title 18, United States Code, § 1028(a)(3).
            then being an unlawful user of a controlled substance as defined in 21 U.S.C. Sec. 802,
Set 3                                                                                                    12
            did knowingly possess in and affecting interstate commerce, a firearm and ammunition,
            Title 18, United States Code, Sections 922(g)(3).
                                                                                           ..
                                  (Use tab key after entenng counts to create add1t1onal rows)


               SUPERSEDING INDICTMENT                                 New count?         New               Old
             U.S.C. Citation(s) and Description of                      Yor N           Count#            Count#
                      Offense Charged                                                                    (if applicable)

Iset 1 I                                                          I                 I    ..
                                                                                                    I                      I
                                  (Use tab key after entermg counts to create addJttOnal rows)

Current Trial Date (if set):                                          before Judge _ _ _ _ _ _ __

Criminal Complaint Filed: No                 Yes                Case No.

Defendant on Supervised Release: Yes__                          No

Violation Warrant Issued? No                      Yes                 Case No. _ _ _ _ _ _ _ _ __

Related Case(s):


Case Number           Defendant's attorney            How related


Case Number           Defendant's attorney            How related


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Criminal Informations:
Pending criminal case:                         No        Yes __    Case No. _ _ _ _ _ _ _ _ __

New Separate Case _ _ __                                 Supersedes Pending Case _ _ __

Name of defendant's attorney:

Retained:                                     Appointed:



Date: _ _:5::.:...:/2=9::.:...:/2=0::....:1:...::3~---




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